           Case 2:17-cv-05378-MSG Document 24 Filed 09/27/18 Page 1 of 2



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________________
JAMILLAH NADERAH GRIFFIN,                  :                 CIVIL ACTION
                  Plaintiff,               :
                                           :
            v.                             :                 No. 17-5378
                                           :
PIEDMONT AIRLINES, ET AL.,                 :
                                           :
                  Defendants.              :
__________________________________________:

                                             ORDER

      AND NOW, this           day of September, 2018, following a preliminary pretrial

conference, it is ORDERED that:

      1.       This case is referred to Magistrate Judge David R. Strawbridge for settlement

               purposes. Judge Strawbridge will contact counsel to initiate the settlement

               process.

      2.       All motions to amend the complaint and to join or add additional parties shall be

               filed within fourteen (14) days of the date of this Order.

      3.       All fact discovery shall be completed by January 16, 2019.

      4.       Any party expecting to offer opinion testimony from lay witnesses pursuant to

               Federal Rule of Evidence 701 with respect to the issues of liability and/or

               damages shall, within the time required for the submission of expert discovery set

               forth above, serve opposing parties with concise details and/or documents

               covering the lay opinions of the Rule 701 witnesses, including the identity of each

               witness offering the lay opinion, the substance and the basis for each opinion.
     Case 2:17-cv-05378-MSG Document 24 Filed 09/27/18 Page 2 of 2



5.       All motions for summary judgment and Daubert motions shall be filed no later

         than May 8, 2019.

6.       Responses to motions for summary judgment and Daubert motions, if any, shall

         be filed no later than May 29, 2019.




                                          BY THE COURT:


                                          /s/ Mitchell S. Goldberg
                                          ____________________________
                                          MITCHELL S. GOLDBERG, J.
